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     5
         Presented on behalf of Plaintiffs

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     8
                             UNITED STATES DISTRICT COURT
     9
                            CENTRAL DISTRICT OF CALIFORNIA
    10
                                 WESTERN DIVISION
    11   PEOPLE OF LOS ANGELES WHO 2:21-cv-06003-DOC(KESx)
         ARE UN-HOUSED, AS A CLASS
    12   REPRESENTED BY C. FINLEY,
         etc.,                              PLAINTIFFS' ADDITIONAL
    13                                      REPLY ON PLAINTIFFS' EX
                      Plaintiff,            PARTE APPLICATION FOR
    14                                       ORDER RECONSIDERING
                      v.                    MINUTE   ORDER DENYING
    15                                          DAMAGES CLASS
         ERIC MICHAEL GARCETTI, et al.,        CERTIFICATION BY
    16                                   (1) NAMING PLAINTIFF FINLEY
                     Defendants.         AS A CLASS REPRESENTATIVE,
    17                                     AND (2) REVERSING RULING
    18
                                          THAT A DAMAGES MODEL IS
                                           REQUIRED FOR A DAMAGES
    19                                        CLASS CERTIFICATION

    20                                                      Judge David O. Carter
    21
    22         [T]he instant class action falls precisely within the ambit of Rule 23(b)(3).
               While the text of Rule 23(b)(3) does not exclude from certification cases in
    23         which individual damages run high, the Advisory Committee had
    24         dominantly in mind vindication of "the rights of groups of people who
               individually would be without effective strength to bring their opponents
    25
               into court at all." Kaplan, Prefatory Note 497. As concisely recalled in a
    26         recent Seventh Circuit opinion: "The policy at the very core of the class
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               action mechanism is to overcome the problem that small recoveries do not
               provide the incentive for any individual to bring a solo action prosecuting
    28         his or her rights. A class action solves this problem by aggregating the


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     1         relatively paltry potential recoveries into something worth someone's
     2         (usually an attorney's) labor." Mace v. Van Ru Credit Corp., 109 F.3d 338,
               344 ([7th Cir.] 1997).
     3
     4
         See Amchem Products Inc. v. Windsor, 521 U.S. 591, 617 (1997) (Emphasis

     5   added.).

     6                                Respectfully submitted,

     7
                               YAGMAN + REICHMANN, LLP
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     9                              By: /s/ Stephen Yagman
                                       STEPHEN YAGMAN
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